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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

__________________________________________​                  ​
CLEBERSON OLIVEIRA GOMES​               ​     )
​                                       ​     )​             Civil Action No. 1:25-cv-11571-JE​
                     Petitioner, ​      ​     )
​                                       ​     )​              ​     ​       ​        ​
v.​                                     ​     )​
​                                       ​     )
PATRICIA HYDE, Field Office Director, ​ ​     )
MICHAEL KROL, HSI New England Special​        )​             ​
Agent in Charge, and TODD LYONS, Acting ​     )
Director U.S. Immigrations and Customs​ ​     )
Enforcement, and KRISTI NOEM, U.S. Secretary​ )
of Homeland Security,​                  ​     )
​                                       ​     )
                     Respondents.​      ​     )​             ​
__________________________________________)

REPLY TO GOVERNMENT OPPOSITION TO PETITIONER’S PETITION FOR WRIT
           OF HABEAS CORPUS PURSUANT TO 28 U.S.C. § 2241

​      Petitioner Cleberson Oliveira Gomes, by and through their attorney, Shantanu Chatterjee,

respectfully submits this Reply to Respondents’ Opposition to Petitioner’s Petition for Writ of

Habeas Corpus (“Petition”). Doc. 7. Petitioner submits this Reply pursuant to Rule 5(e) of the

Federal Rules Governing Section 2254 cases.

       When Petitioner entered the United States, the Department of Homeland Security

(“DHS”) chose to put Petitioner in full removal proceedings before an Immigration Judge under

8 U.S.C. § 1229a, which is mutually exclusive with expedited removal proceedings under 8

U.S.C. § 1225. DHS is now detaining Petitioner solely on the purported ground that Petitioner is

not eligible for bond under 8 U.S.C. § 1225. However, 8 U.S.C. § 1225(b)(1)(B)(iii)(IV) and §

1225(b)(2)(A) do not apply to Petitioner. Therefore, Petitioner’s detention violates both the




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Immigration and Nationality Act (“INA”) and Petitioner’s Fifth Amendment right to due process

of law.

                                    PROCEDURAL HISTORY

​         Petitioner entered the United States on May 12, 2024, through the southern border. See

Doc. 1 1. On May 13, 2024, DHS elected to allow Petitioner to enter the United States and

filed a “Notice to Appear” (“NTA”) against Petitioner, with the Chelmsford Immigration Court,

pursuant to 8 U.S.C. § 1229. See Notice to Appear against Petitioner. The NTA charged

Petitioner with being “inadmissible” as “present in the United States without being admitted or

paroled, or who arrives in the United States at any time or place other than as designated by the

Attorney General, 8 U.S.C. § 1182(a)(6)(A)(i).” See Notice to Appear against Petitioner.

          An NTA is the “charging document” that initiates removal proceedings in Immigration

Court, before an Immigration Judge, against a noncitizen, and constitutes written notice to the

noncitizen of their placement in removal proceedings before the Immigration Court. See 8 U.S.C.

§ 1229(a) (describing the requirements of a Notice to Appear as the “initiation of removal

proceedings.”); 8 C.F.R. § 1003.14(a) (2025) (“Jurisdiction vests, and proceedings before an

Immigration Judge commence, when a charging document is filed with the Immigration Court by

the Service.”). Therefore, DHS’s filing of the NTA against Petitioner in this case initiated “full”

removal proceedings in Immigration Court pursuant to 8 U.S.C. § 1229a—which vested

jurisdiction with the Immigration Judge—and constituted “the sole and exclusive procedure for

determining whether an alien may be admitted to the United States or, if the alien has been

so admitted, removed from the United States.” 8 U.S.C. § 1229a(a)(3) (emphasis added). As

the Board of Immigration Appeals (“BIA”) recently stated, “DHS may place aliens arriving in

the United States in either expedited removal proceedings under section 235(b)(1) of the INA, 8



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U.S.C. § 1225(b)(1), or full removal proceedings under section 240 of the INA, 8 U.S.C. §

1229a.” Matter of Q. LI, 29 I&N Dec. 66, 68 (BIA 2025) (emphasis added). In addition, the

Customs and Border Protection issued the Petitioner a Form I-286 on May 13, 2024, a document

which released him on his own recognizance “pursuant to the authority contained in section 236

of the Immigration and Nationality Act and part 236 of title 8, Code of Federal Regulations.” See

I-213 Narrative. Full removal proceedings and expedited removal proceedings are mutually

exclusive. Moreover, the Government concedes that Petitioner is not in expedited removal

proceedings. See Doc. 7 at p. 3 (“[T]he expedited removal process has not yet begun.”).

       On May 29, 2025, Petitioner appeared at his hearing with the Chelmsford Immigration

Court before Immigration Judge Nina Froes. See Chelmsford Immigration Court Scheduling

Order. At the hearing, the attorney for DHS orally moved to dismiss the § 1229a removal

proceedings against Petitioner. See id. The Immigration Judge has not yet ruled on DHS’s

motion, but rather issued a “Scheduling Order” requiring Petitioner to file a response. See id. On

June 9, 2025, Petitioner filed an Opposition to DHS’s Motion to Dismiss. See Petitioner’s

Opposition to DHS Motion to Dismiss. The court also continued his master calendar hearing to

December 4, 2025.

       After Petitioner’s May 29 Immigration Court hearing, DHS arrested Petitioner as he was

leaving the Chelmsford Immigration Court, pursuant to 8 U.S.C. § 1226. See Warrant for Arrest

of Alien; Notice of Custody Determination. Petitioner subsequently filed with the Chelmsford

Immigration Court a request for custody redetermination—also known as a “bond

request”—pursuant to 8 C.F.R. § 1003.19(a) (2025) (“Custody and bond determinations made by

[DHS]…may be reviewed by an Immigration Judge.”). In response to Petitioner’s bond request,

DHS filed a notice of the Petitioner's ineligibility for bond with the Immigration Court. See DHS




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Notice of Petitioner’s Ineligibility for Bond. In that document, DHS argues that Petitioner is

“detained without a warrant while arriving in the United States…subsequently placed in removal

proceedings is detained under 8 U.S.C. § 1225(b)…and is ineligible for any subsequent release

on bond under [8 U.S.C. § 1226(a)].” See also Doc. 8 6 (“The Petitioner is detained pursuant to

8 U.S.C. § 1225(b).”). This assertion contradicts DHS’s May 29, 2025 Warrant for Arrest of

Alien, which explicitly authorized Petitioner’s arrest “pursuant to sections 236 and 287 of the

Immigration and Nationality Act,” or 8 U.S.C. § 1226 and 8 U.S.C. § 1357.

                                               ARGUMENT

           1.​ Petitioner is Not Subject to Mandatory Detention Under the Expedited
               Removal Statute

​      The Government now argues that Petitioner is subject to mandatory detention under the

expedited removal statute, 8 U.S.C. § 1225(b). See Doc. 7 at p. 7. This argument is inapposite

because this statutory provision applies only to noncitizens in the process of Credible Fear

Interviews: a process to which Petitioner was not and is not subject.

       The statute upon which the Government relies to justify Petitioner’s detention applies

exclusively to noncitizens formerly in expedited removal proceedings and the “Credible Fear

Interview” procedure. 8 U.S.C. § 1225 contains a provision governing “Asylum interviews,” or

“Credible Fear Interviews.” See § 1225(b)(1)(B). When a noncitizen that seeks admission to the

United States and is in the custody of DHS “indicates either an intention to apply for asylum

under [8 U.S.C. § 1158] or a fear of persecution,” 8 U.S.C. § 1225(b)(1)(A)(ii), “the

[immigration] officer shall refer the alien for an interview by an asylum officer.” Id. This statute

further provides that “[i]f the officer determines at the time of the interview that an alien has a

credible fear of persecution…the alien shall be detained for further consideration of the

application for asylum.” Id. § 1225(b)(1)(B)(ii). The statute clarifies that a noncitizen subject to


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the Credible Fear Interview process is subject to mandatory detention: “Any alien subject to the

procedures under this clause shall be detained pending a final determination of credible fear of

persecution and, if found not to have such a fear, until removed.” § 1225(b)(1)(B)(iii)(IV)

(emphasis added). Therefore, this provision explicitly limits the application of the mandatory

detention provision to noncitizens “subject to the procedures” under the “Asylum interviews”

clause.

          The mandatory detention provision of 8 U.S.C. § 1225(b) does not apply to Petitioner.

Petitioner was never placed in expedited removal proceedings and never underwent a Credible

Fear Interview. When DHS apprehended Petitioner at the United States border, DHS chose to

initiate full removal proceedings under 8 U.S.C. § 1229a. See Notice to Appear against

Petitioner. DHS did not subject Petitioner to a Credible Fear Interview under 8 U.S.C. §

1225(b)(1)(B)(ii), which is indicated by the fact that the box on Petitioner’s NTA stating “This

notice is being issued after an asylum officer has found that the respondent has demonstrated a

credible fear of persecution or torture,” remains unchecked. See id; Notice to Appear against

Petitioner. Full removal proceedings are mutually exclusive with expedited removal proceedings.

See 8 U.S.C. § 1229a(a)(3)(“a proceeding under this section shall be the sole and exclusive

procedure for determining whether an alien may be admitted to the United States or, if the alien

has been so admitted, removed from the United States.”). Therefore, Petitioner is not subject to

mandatory detention under 8 U.S.C. § 1225(b)(2)(A), which is limited to “alien[s] subject to the

procedures under this clause shall be detained pending a final determination of credible fear of

persecution.” 8 U.S.C. § 1225(b)(1)(B)(iii)(IV).




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        Administrative interpretations of 8 U.S.C. § 1225 confirm that the mandatory detention

provision applies only to noncitizens in the expedited removal and Credible Fear Interview

procedure. The Attorney General explained that

               Section 235 of the Act expressly provides for the detention of aliens
               originally placed in expedited removal. Such aliens “shall be detained
               pending a final determination of credible fear.” INA §
               235(b)(1)(B)(iii)(IV) [8 USC § 1225(b)(1)(B)(iii)(IV)]. Aliens found not
               to have a credible fear “shall be detained…until removed.” Id. Aliens
               found to have such a fear, however, “shall be detained for further
               consideration of the application for asylum.” Id. § 235(b)(1)(B)(ii).

Matter of M-S-, 27 I&N Dec. 509, 512 (A.G. 2019) (emphasis added). This agency interpretation

of 8 U.S.C. § 1225(b)(1)(B)(iii)(IV) confirms that the application of this mandatory detention

provision applies only to noncitizens in expedited removal proceedings “pending a final

determination of credible fear.” Id. In this case, there is no pending Credible Fear Interview for

Petitioner. See Notice to Appear against Petitioner. The BIA recently affirmed Matter of M-S-,

stating that “[f]or those placed in expedited removal proceedings who are referred to an

Immigration Judge for consideration of their asylum application, section 235(b)(l)(B)(ii) of the

INA, 8 U.S.C. § 1225(b)(1)(B)(ii), requires detention until the final adjudication of the asylum

application.” Matter of Q. LI, 29 I&N Dec. 66, 68 (BIA 2025).

​       The DHS documents pertaining to Petitioner’s May 29, 2025 arrest demonstrate that

Petitioner is not subject to mandatory detention under 8 U.S.C. § 1225. Both the Warrant for

Arrest of Alien and Notice of Custody Determination indicate that DHS arrested Petitioner

pursuant to INA § 236, 8 U.S.C. § 1226. See Warrant for Arrest of Alien against Petitioner;

Notice of Custody Determination against Petitioner. As the Attorney General stated in Matter of

M-S-,

               Section 236 of the Act addresses, more generally, the detention of aliens
               in removal proceedings. Once an alien has been arrested pursuant to an
               immigration warrant, DHS “may continue to detain the arrested alien” or



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               “may release the alien on” “bond of at least $1,500” or “conditional
               parole.” INA § 236(a)(1)–(2), 8 U.S.C. § 1226(a)(1)–(2).

Matter of M-S-, 27 I&N Dec. 509, 512 (A.G. 2019). Therefore, DHS’s own arrest documents for

Petitioner contradict the Government’s contention that “[t]o the extent that the Petitioner

challenges his detention by claiming that his detention is not under 8 U.S.C. § 1225(b) (which

mandates detention) but rather under 8 U.S.C. § 1226(a) (discretionary detention), such an

argument fails.” Doc. 7 at p. 8. The arrest documents also contradict DHS’s Opposition to

Petitioner’s request for bond with the Chelmsford Immigration Court that states that Petitioner

“is not eligible for bond pursuant to Matter of Q. Li, 29 I&N Dec. 66 (BIA 2025).” See DHS

Notice of Petitioner's Ineligibility for Bond (emphasis added). Taking DHS’s arrest documents

against Petitioner into consideration, it is clear that DHS arrested Petitioner pursuant to 8 U.S.C.

§ 1226(a), not 8 U.S.C. § 1225(b), and Petitioner is not subject to mandatory detention.

       The Government also relies on 8 U.S.C. § 1225(b)(2)(A) for the conclusion that

Petitioner is not eligible for release. This argument also fails because this statutory provision

applies to applicants for admission before DHS initiates full removal proceedings by filing an

NTA with the Immigration Court. 8 U.S.C. § 1225(b)(2)(A) falls under the subheading

“Inspection of other aliens,” and states that “in the case of an alien who is an applicant for

admission, if the examining immigration officer determines that an alien seeking admission is

not clearly and beyond a doubt entitled to be admitted, the alien shall be detained for a [full

removal] proceeding under section 1229a of this title.” Id. (emphasis added). The INA defines

the “terms ‘admission’ and ‘admitted’ [to] mean, with respect to an alien, the lawful entry of the

alien into the United States after inspection and authorization by an immigration officer.” 8

U.S.C. § 1101(a)(13)(A). Both the plain meaning and the context of this provision—the

expedited removal statute—indicate that it applies only at the time DHS initiates full removal



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proceedings under 8 U.S.C. § 1229a. See FDA v. Brown & Williamson Tobacco Corp., 529 U.S.

120, 132 (2000) (“[T]he court should not confine itself to examining a particular statutory

provision in isolation. Rather, it must place the provision in context.”). In this case, DHS arrested

Petitioner on May 29, 2025: over a year after DHS initiated full removal proceedings against

Petitioner on May 13, 2024. See Notice to Appear against Petitioner; Notice of Custody

Determination against Petitioner. Therefore, 8 U.S.C. § 1225(b)(2)(A) does not apply to this case

because Petitioner was placed in full removal proceedings before DHS took him into custody.

See id.

          To the extent that Matter of Q. Li permits mandatory detention of Petitioner under 8

U.S.C. § 1225(b), the Court should not follow Matter of Q. Li. The Government contends that

Petitioner is not eligible for release under the BIA’s decision in Matter of Q. Li, 29 I&N Dec. 66

(BIA 2025). The Government asserts that “In Matter of Q. Li, 29 I&N Dec. 66 (BIA 2025), the

BIA held that mandatory detention under 8 U.S.C. § 1225(b) applies to all ‘applicant[s] for

admission,’ whether they are placed in expedited removal proceedings or in full removal

proceedings under 8 U.S.C. § 1229a.” Doc. 7 at 8. The statute at issue in Q. Li is 8 U.S.C. §

1225(b)(2)(A), which governs “Inspection of other aliens.” Id. § 1225(b)(2) (emphasis added).

The statute provides that “in the case of an alien who is an applicant for admission, if the

examining immigration officer determines that an alien seeking admission is not clearly and

beyond a doubt entitled to be admitted, the alien shall be detained for a proceeding under section

1229a of this title.” 8 U.S.C. § 1225(b)(2)(A). This statute applies at the time the noncitizen

seeks admission, before DHS commences full removal proceedings. See Matter of M-S-, 27 I&N

Dec. 509, 512 (A.G. 2019). If Q. Li stands for the proposition that 8 U.S.C. § 1225(b)(2)(A)

renders Petitioner ineligible for bond, then the Court should eschew Q. Li’s arbitrary and




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capricious interpretation of the statute. See Loper Bright Enterprises v. Raimondo, 603 U.S. 369,

392 (2024) (stating that 5 U.S.C. §706(2)(A) requires “agency action to be set aside if ‘arbitrary,

capricious, [or] an abuse of discretion.’”). Courts may “hold unlawful and set aside agency

action, findings, and conclusions found to be…not in accordance with law.” Id. at 391 (quoting

§706(2)(A)). “Courts must exercise their independent judgment in deciding whether an agency

has acted within its statutory authority, as the APA requires.” Id. at 412. Therefore, if the Court

determines that Q. Li extends 8 U.S.C. § 1225(b)(2)(A)’s mandatory detention requirement to

Petitioner, the Court should not follow Q. Li, but rather independently rule that 8 U.S.C. §

1225(b)(2)(A) does not apply to Petitioner because the statute contemplates

procedures—expedited removal and admission before full removal proceedings

commenced—that do not apply to Petitioner.

           2.​ Petitioner is Not Required to Exhaust Administrative Remedies

​      The Government contends that “the proper forum is the Immigration Court, where

[Petitioner] should seek a bond hearing and then, if needed, he should appeal to the Board of

Immigration Appeals; given that the Petitioner is still in ongoing formal removal hearings before

the Immigration Court.” Doc. 7 at 8. The Government relies on Brito v. Garland, 22 F.4th 240,

255 (1st Cir. 2021). This argument fails for three reasons.

​      First, Petitioner did file a bond request with the Chelmsford Immigration Court, but on

June 12, 2025, Immigration Judge Donald Ostrom denied Petitioner’s request, finding Petitioner

ineligible for bond under 8 U.S.C. § 1225. See Immigration Judge Order Denying Bond (stating

“Per Matter of Q. Li, Respondent not eligible for bond.”). Based on information and belief, the

BIA will likely affirm the Immigration Judge’s decision pursuant to Matter of Q. LI, 29 I&N

Dec. 66 (BIA 2025). The unlikelihood that Petitioner’s claim of eligibility for release will




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succeed at the administrative level supports Petitioner’s instant habeas claim. See, e.g., McCarthy

v. Madigan, 503 U.S. 140, 147 (1992) (“[A]n administrative remedy may be inadequate ‘because

of some doubt as to whether the agency was empowered to grant effective relief’”) (quoting

Gibson v. Berryhill, 411 U.S. 564, 575, n. 14 (1973))).

​      Second, Brito is distinguishable from the facts and arguments here. Petitioner is not

challenging an Immigration Judge’s decisions regarding the setting of bond. Rather, Petitioner

challenges DHS’s custody determination that Petitioner is ineligible for bond and DHS’s

detention of Petitioner pursuant to 8 U.S.C. § 1225(b).

       Third, Petitioner is challenging his statutory eligibility to be released from detention,

which is reviewable on habeas. See, e.g., Goncalves v. Reno, 144 F.3d 110, 125 (1st Cir. 1998)

(“Analytically, the decision whether an alien is eligible to be considered for a particular

discretionary form of relief is a statutory question separate from the discretionary component of

the administrative decision whether to grant relief.”). Furthermore, Petitioner did request bond

with the Immigration Court, and DHS has contended that Petitioner is not eligible for bond. See

DHS Notice of Petitioner’s Ineligibility for Bond.

           3.​ Petitioner Has a Right to Due Process in his Immigration Proceedings

       Petitioner has a constitutionally protected interest in procedural due process in their

removal proceedings and applications for relief. See Yamataya v. Fisher, 189 U.S. 86 (1903)

(holding that immigrants have procedural due process rights); Bridges v. Wixon, 326 U.S. 135

(1945) (holding that deportation proceedings against non-citizens lawfully residing in the United

States must adhere to norms of due process).

        “[O]ur immigration laws have long made a distinction between those aliens who have

come to our shores seeking admission…and those who are within the United States after an




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entry.” Leng May Ma v. Barber, 357 U.S. 185, 187 (1958). “Noncitizens in this

country…undeniably have due process rights.” Department of Homeland Security v.

Thuraissigiam, 591 U.S. 103, 191 (2020). See also Landon v. Plasencia, 459 U.S. 21, 32 (1982)

(“[A]n alien seeking initial admission to the United States requests a privilege and has no

constitutional rights regarding his application….”). The government is arguing that the Petitioner

is seeking admission, but this belies the undisputed facts of this case. In this case, the Petitioner

is not an arriving alien, was neither paroled nor had his parole revoked. In contrast, he was

processed pursuant to INA 236(a), or 8 U.S.C. § 1226, and was placed in full removal

proceedings, which are governed by 8 C.F.R. §§ 1003.12-1003.41, 1240.1-1240.26.

       “[A]n alien in civil removal proceedings is not entitled to the same bundle of

constitutional rights afforded defendants in criminal proceedings…various protections that apply

in the context of a criminal trial do not apply in a deportation hearing.” Hussain v. Rosen, 985

F.3d 634, 642 (9th Cir. 2021) (quoting Valencia v. Mukasey, 548 F.3d 1261, 1263 (9th Cir.

2008)), cert. denied sub nom. Hussain v. Garland, 142 S. Ct. 1121 (2022). A full and fair hearing

is one of the due process rights afforded to aliens in deportation proceedings.

       The First Circuit held in Hernandez-Lara v. Lyons that the Fifth Amendment’s Due

Process clause requires the government to provide detained noncitizens awaiting removal

proceedings a bond hearing. 10 F.4th 19 (1st Cir. 2021). The government must prove the

noncitizen is a danger by clear and convincing evidence, or flight risk by preponderance of

evidence. See id. at 41. If the government cannot meet its burden, it must offer bond or

conditional parole. See id. The decision expanded the due process rights of noncitizens. The

court also asserted that the decision ameliorates the “substantial societal costs” of unnecessary

detention.




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        In this case, the Government claims that the Petitioner has no right to due process

because he is an applicant for admission. This argument ignores the facts of the case: that upon

entry into the United States, DHS opted not to place Petitioner in expedited removal, but full

removal proceedings. DHS then released Petitioner on his own recognizance pursuant to 8

U.S.C. § 1226(a). DHS served him with an NTA and placed him in full removal proceedings

pursuant to 8 U.S.C. § 1229a. Now, DHS is trying to recreate the facts to change the posture of

his case by claiming that Petitioner is subject to expedited removal, mandatory detention under

the expedited removal statute, and has no right to due process. The Government’s arguments

attempt to stretch Matter of Q Li, 20 I&N Dec. 66 (BIA 2025), which involved a Respondent

who was conditionally paroled at the border, to justify Petitioner’s detention. However, the

facts of the Petitioner’s case are distinguishable from Q. Li, and the record shows that Petitioner

remains in full removal proceedings with his next Master Calendar at the Chelmsford

Immigration Court now scheduled for June 26, 2025. Petitioner remains in full removal

proceedings. Thus, the protections afforded to Hernandez Lara should be extended to the

Petitioner in this case as well.

                                           CONCLUSION

For the reason described above, Petitioner’s Petition should be granted, and Respondents should

be ordered to release Petitioner immediately pursuant to his statutory eligibility for release.

Dated: June 13, 2025​ ​            ​   ​      ​       Respectfully submitted,

                                   ​   ​      ​       __________________________
​       ​       ​       ​          ​   ​      ​       Shantanu Chatterjee, Esq.​
​       ​       ​       ​          ​   ​      ​       BBO No. 698677
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                                  CERTIFICATE OF SERVICE

I, Shantanu Chatterjee, Counsel for Petitioner hereby certify that this document filed through the
ECF system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.


Dated: June 13, 2025​ ​       ​      ​       ​      Respectfully submitted,


                              ​      ​       ​      __________________________
​      ​      ​       ​       ​      ​       ​      Shantanu Chatterjee, Esq.​
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​      ​      ​       ​       ​      ​       ​      Counsel for Petitioner




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